                                                                                 Case 2:15-cv-00799-KJM-DB Document 465 Filed 06/21/24 Page 1 of 5


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                                                                                 CANYON CLUB HOLDINGS, LLC; CHESAPEAKE
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                                                                            10   RIVER OAKS HOLDINGS, LLC; SHADOW WAY
                                                                                 APARTMENTS, LP; WASATCH ADVANTAGE GROUP,
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                                                                            11   LLC; WASATCH PREMIER PROPERTIES, LLC;
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                                                                                 WASATCH QUAIL RUN GP, LLC; WASATCH POOL
                                                                            12   HOLDINGS, LLC; WASATCH POOL HOLDINGS III,
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                                                                                                                UNITED STATES DISTRICT COURT
                                                                            14                                 EASTERN DISTRICT OF CALIFORNIA
                                                                            15                                      SACRAMENTO DIVISION

                                                                            16   UNITED STATES OF AMERICA, ex rel.                    Case No.: 2:15-CV-00799-KJM-DB
                                                                                 DENIKA TERRY, ROY HUSKEY III, and
                                                                            17   TAMERA LIVINGSTON, and each of them for              CLASS ACTION
                                                                                 themselves individually, and for all other persons
                                                                            18   similarly situated and on behalf of the UNITED       OWNER AND NON-OWNER
                                                                                 STATES OF AMERICA                                    DEFENDANTS’ OPPOSITION TO
                                                                            19                                                        RELATORS’ MOTION IN LIMINE NO. 9
                                                                                        Plaintiffs/Relators,                          TO EXCLUDE EVIDENCE OF MEDICAL
                                                                            20                                                        HISTORY AND IRRELEVANT
                                                                                 vs.                                                  PERSONAL INFORMATION
                                                                            21
                                                                                 WASATCH ADVANTAGE GROUP, LLC,
                                                                            22   WASATCH PROPERTY MANAGEMENT,                         Date: July 12, 2024
                                                                                 INC., WASATCH POOL HOLDINGS, LLC,                    Time: 10:00 AM
                                                                            23   CHESAPEAKE APARTMENT HOLDINGS,                       Dept: Courtroom 3, 15th Floor
                                                                                 LLC, LOGAN PARK APARTMENTS, LLC,                     Before: Hon. Kimberly J. Mueller
                                                                            24   LOGAN PARK APARTMENTS, LP, ASPEN
                                                                                 PARK HOLDINGS, LLC, BELLWOOD                         Trial Date:   July 30, 2024
                                                                            25   JERRON HOLDINGS, LLC, BELLWOOD
                                                                                 JERRON APARTMENTS, LP, BENT TREE
                                                                            26   APARTMENTS, LLC, CALIFORNIA PLACE
                                                                                 APARTMENTS, LLC, CAMELOT LAKES
                                                                            27   HOLDINGS, LLC, CANYON CLUB
                                                                                 HOLDINGS, LLC, COURTYARD AT
                                                                            28   CENTRAL PARK APARTMENTS, LLC,
                                                                                 CREEKSIDE HOLDINGS, LTD, HAYWARD
                                                                                 Case 2:15-cv-00799-KJM-DB Document 465 Filed 06/21/24 Page 2 of 5


                                                                             1   SENIOR APARTMENTS, LP, HERITAGE
                                                                                 PARK APARTMENTS, LP, OAK VALLEY
                                                                             2   APARTMENTS, LLC, OAK VALLEY
                                                                                 HOLDINGS, LP, PEPPERTREE APARTMENT
                                                                             3   HOLDINGS, LP, PIEDMONT APARTMENTS,
                                                                                 LP, POINT NATOMAS APARTMENTS, LLC,
                                                                             4   POINT NATOMAS APARTMENTS, LP,
                                                                                 RIVER OAKS HOLDINGS, LLC, SHADOW
                                                                             5   WAY APARTMENTS, LP, SPRING VILLA
                                                                                 APARTMENTS, LP, SUN VALLEY
                                                                             6   HOLDINGS, LTD, VILLAGE GROVE
                                                                                 APARTMENTS, LP, WASATCH QUAIL RUN
                                                                             7   GP, LLC, WASATCH PREMIER
                                                                                 PROPERTIES, LLC, WASATCH POOL
                                                                             8   HOLDINGS III, LLC,
                                                                                 and DOES 1-4,
                                                                             9
                                                                                      Defendants.
                                                                            10
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                                                                                           OWNER AND NON-OWNER DEFENDANTS’ OPPOSITION TO RELATORS’ MOTION IN LIMINE NO. 9
                                                                                 Case 2:15-cv-00799-KJM-DB Document 465 Filed 06/21/24 Page 3 of 5


                                                                             1   DEFENDANTS’ OPPOSITION TO RELATORS’ MOTION IN LIMINE NO. 9
                                                                             2     I.   Introduction
                                                                             3          Owner and Non-Owner Defendants (“Defendants”) oppose in part Relators’ Motion in
                                                                             4   Limine No. 9 to exclude evidence of medical history and irrelevant personal information (the
                                                                             5   “Motion”, ECF 426). Defendants do not oppose the exclusion of evidence of Relators’ personal
                                                                             6   medical history. However, Relators’ motion to exclude evidence of Mr. Huskey’s racial animus, and
                                                                             7   evidence of other litigation involving witnesses and/or affiliates of parties, is overly broad and would
                                                                             8   unfairly prejudice Defendants. Should Relators testify at trial, such testimony necessarily opens the
                                                                             9   door to evidence regarding Relators’ bias towards Wasatch Property Management, Inc. (“WPM”).
                                                                            10   Further, to the extent Relators introduce evidence or argument regarding eviction proceedings or
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                                                                            11   threats of eviction, Defendants should be allowed to present rebuttal evidence regarding the same.
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                                                                            12    II.   Evidence of Personal Medical History
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                                                                            13          Defendants do not oppose excluding personal medical history of the Relators. As Defendants
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                                                                            14   have similarly argued, the personal information of Defendants and Relators is irrelevant and should
                                                                            15   be excluded. (See Defs.’ Mot. in Lim. 5, ECF 408.) Therefore, Defendants agree not to introduce
                                                                            16   evidence or argument regarding Relators’ personal medical history.
                                                                            17   III.   Evidence of Evictions
                                                                            18          Relators’ Motion is entirely too broad and if granted, would prejudice Defendants at trial.
                                                                            19   Relators intend to introduce evidence and argument to the jury concerning evictions and threats
                                                                            20   thereof. (See Joint Pretrial Statement, ECF 378, Pls.’ Ex. List, Exs. 23, 27, 186, 312, 324, 326.)
                                                                            21   Relators cannot therefore seek to prevent Defendants from introducing evidence concerning the
                                                                            22   same topics, which Relators themselves have made, and will make, a triable issue of fact to the jury.
                                                                            23   To the extent that Relators argue or put on evidence that any such tenant was evicted or threatened
                                                                            24   with eviction as the result of non-payment of additional services, Defendants should be able to rebut
                                                                            25   such testimony. See United States v. Gross, 424 F. Supp. 3d 800, 810 n.8 (C.D. Cal. 2019) (“There
                                                                            26   is a possibility, however, that the probative nature of this evidence could increase if Defendant puts
                                                                            27   at issue the reason for Defendant’s focus on personal injury cases instead of workers’ compensation
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                                                                                               OWNER AND NON-OWNER DEFENDANTS’ OPPOSITION TO RELATORS’ MOTION IN LIMINE NO. 9
                                                                                 Case 2:15-cv-00799-KJM-DB Document 465 Filed 06/21/24 Page 4 of 5


                                                                             1   cases.”); United States v. Martin, No. CR 07-1205(A) CBM, 2009 WL 453194, at *4 (C.D. Cal.
                                                                             2   Feb. 20, 2009) (“Of course, if Defendants offer this evidence, thereby changing the Rule 403
                                                                             3   balance, the Court may find that Defendants’ have ‘opened the door’ to the admissibility of” rebuttal
                                                                             4   evidence); EEOC v. High Speed Enter., Inc., No. CV-08-01789-PHX-ROS, 2012 WL 12964791, at
                                                                             5   *5-6 (D. Ariz. Jan. 17, 2012) (excluding evidence of plaintiff’s eviction under Rule 403 so long as
                                                                             6   plaintiff “does not open the door” during her testimony). Moreover, the fact that no tenants were
                                                                             7   evicted for non-payment of additional services is directly relevant and probative to the claims and
                                                                             8   defenses at issue in this case.
                                                                             9           Further, evidence of evictions for any tenant witness, including but not limited to Relators,
                                                                            10   goes directly towards that witnesses’ bias against WPM. Evidence of bias is always relevant and
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                                                                            11   probative. Copart, Inc. v. Sparta Consulting, Inc., No. 2:14-CV-00046-KJM-CKD, 2018 WL
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                                                                            12   1871414, at *24 (E.D. Cal. Apr. 19, 2018) (“Proof of bias is almost always relevant because the
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                                                                            13   jury, as finder of fact and weigher of credibility, has historically been entitled to assess all evidence
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                                                                            14   which might bear on the accuracy and truth of a witness’ testimony.”) (quoting United States v.
                                                                            15   Hankey, 203 F.3d 1160, 1171 (9th Cir. 2000)).
                                                                            16   IV.     Evidence of Mr. Huskey’s Racial Animus and Use of Racial Slurs
                                                                            17           Defendants do not oppose, and do not intend to introduce evidence of Mr. Huskey’s alleged
                                                                            18   racial animus and use of racial slurs. However, if Mr. Huskey were to testify regarding his eviction
                                                                            19   or threat thereof, Defendants should be allowed to introduce evidence of Mr. Huskey’s racial animus
                                                                            20   and use of racial slurs as the true reason for Mr. Huskey’s eviction. Further, Mr. Huskey’s eviction,
                                                                            21   and the circumstances surrounding it, are directly relevant to Mr. Huskey’s bias as a witness. See
                                                                            22   Copart, Inc., supra, at *24. As a result, Relators motion on this ground should be denied.
                                                                            23    V.     Evidence of Unrelated Litigation
                                                                            24           Defendants agree with Relators that “[e]vidence of unrelated litigation is not relevant and
                                                                            25   inadmissible.” (Pls.’ Mot. in Lim. 9, ECF 426, at 5:6-7.) What is puzzling is why Relators have
                                                                            26   asked the Court to take judicial notice of wholly unrelated lawsuits and settlements involving the
                                                                            27   Department of Justice and non-parties. (See Pls.’ Req. for Judicial Notice, ECF 427, at 1-2.)
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                                                                                               OWNER AND NON-OWNER DEFENDANTS’ OPPOSITION TO RELATORS’ MOTION IN LIMINE NO. 9
                                                                                 Case 2:15-cv-00799-KJM-DB Document 465 Filed 06/21/24 Page 5 of 5


                                                                             1   Defendants have moved to exclude these same press releases, using similar logic that Relators use
                                                                             2   in the instant motion. (See Defs.’ Mot. in Lim. 1.) Therefore, while Defendants do not oppose
                                                                             3   Relators efforts to exclude evidence of unrelated litigation, Defendants simply ask that it be applied
                                                                             4   equally and exclude the press releases Relators seek to introduce.
                                                                             5           Additionally, previous lawsuits brought by Denika Terry and Tamera Livingston are not
                                                                             6   unrelated litigation, particularly when those prior lawsuits were brought by those Relators against
                                                                             7   Wasatch entities. A witnesses litigation history with a defendant, specifically a defendant whom that
                                                                             8   witness intends to offer testimony against, goes directly towards bias and is directly probative of
                                                                             9   that witness’s credibility on the stand. See Copart, Inc., supra, at *24.
                                                                            10   VI.     Conclusion
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                                                                            11           For the reasons outlined above, Defendants respectfully request that the Court deny Relators’
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                                                                            12   Motion in Limine No. 9 to the extent it prevents Defendants from rebutting testimony and evidence
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                                                                            13   relating to evictions or threats thereof.
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                                                                            14    Dated: June 21, 2024                           ARNALL GOLDEN GREGORY LLP
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                                                                                                                                 By: /s/ Richard T. Collins
                                                                            17                                                       Richard T. Collins
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                                                                            21                                                        APARTMENT HOLDINGS, LLC;
                                                                                                                                      COURTYARD AT CENTRAL PARK
                                                                            22                                                        APARTMENTS, LLC; CREEKSIDE
                                                                                                                                      HOLDINGS, LTD; HERITAGE PARK
                                                                            23                                                        APARTMENTS, LP; PEPPERTREE
                                                                                                                                      APARTMENT HOLDINGS, LP; RIVER OAKS
                                                                            24                                                        HOLDINGS, LLC; SHADOW WAY
                                                                                                                                      APARTMENTS, LP; WASATCH
                                                                            25                                                        ADVANTAGE GROUP, LLC; WASATCH
                                                                                                                                      PREMIER PROPERTIES, LLC; WASATCH
                                                                            26                                                        QUAIL RUN GP, LLC; WASATCH POOL
                                                                                                                                      HOLDINGS, LLC; WASATCH POOL
                                                                            27                                                        HOLDINGS III, LLC

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                                                                                               OWNER AND NON-OWNER DEFENDANTS’ OPPOSITION TO RELATORS’ MOTION IN LIMINE NO. 9
